

People v Macsteve D. (2022 NY Slip Op 05285)





People v Macsteve D.


2022 NY Slip Op 05285


Decided on September 27, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 27, 2022

Before: Webber, J.P., Kern, Singh, Moulton, Shulman, JJ. 


Ind. Nos. 2859/15, 2609/15, 843/19 Appeal No. 16268-16268A Case No. 2020-01209 

[*1]The People of the State of New York, Respondent,
vMacsteve D., Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Hunter Haney of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (John T. Komondorea of counsel), for respondent.



Judgments, Supreme Court, Bronx County (Margaret L. Clancy, J.), rendered December 19, 2019, convicting defendant, upon his pleas of guilty, of burglary in the second degree, sexual abuse in the first degree and grand larceny in the fourth degree, adjudicating him a youthful offender as to the burglary and sexual abuse convictions, and sentencing him to concurrent terms of 1&amp;frac13; to 4 years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
Defendant was convicted prior to the enactment of CPL 420.35 (2-a) which permits the waiver of surcharges and fees for persons who like the defendant was less than 21 years of age at the time of the subject crime. However, pursuant to our own interest of justice powers, we waive the surcharge and fees imposed on defendant at sentencing.
Defendant's excessive sentence claim is moot because he has completed all components of his sentence. In any event, we perceive no basis for reducing the sentence. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 27, 2022








